                       Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 1 of 10

 ~AO 245B(05-MA)              (Rev. 06/05) Judgment in II Criminal Case
                               Sheet 1 - O. Massachusetts - 10/05



                                                  UNITED STATES DISTRICT COURT
                                                                District of Massachusetts

           UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.
             Guillermo Orquirio Rosario                                          Case Number: 1:            14 CR 10175           - 5    -IT
             Colon.aka El Viejo, Colon,
                                                                                 USM Number: 96221-038
             Osvaldo Centeno, Fnu Lnu, 0
                                                                                  Blake 1. Rubin
                                                                                 Defendant's Attorney
                                                                                                                          D Additional documents attached
 o
 THE DEFENDANT:
[(] pleaded guilty to count(s)          l_s                                                                                                            _
o pleaded nolo contendere to count{s)
  which was accepted by the court.
o was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                                    Additional Counts - See continuation page   D
 Title & Section                       Nature of Offense                                                             Offense Ended             Count
21 USC § 846                    Conspiracy to Possess with Intent to Distribute, and to Distribute                     06/17/14         Is
                                Heroin, Cocaine, and Cocaine Base




        The defendant is sentenced as provided in pages 2 through                       10       of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
D Count(s) 0 r- i         .                   .   +r>"\        ~s         0 are dismissed on the motion of the Un ited States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs , and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                   10/08/15
                                                                                 Date of Imposition of Judgment




                                                                                   The Honorable Indira Talwani
                                                                                   Judge, U.S. District Court
                                                                                 Name and Title of Judge

                                                                                   10 /21
                                                                                 Date        1     I
                                                                                                       / /5­
                       Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 2 of 10

~AO 245B(05-MA)         (Rev. 06/05) Judgmentin a CriminalCase
                        Sheet 2 - O. Massachusetts - 10/05


                                                                                                          Judgment- Page _-=-_
                                                                                                                           2   of              10
DEFENDANT:   Guillermo Orquirio Rosario Colon aka EI D
CASE NUMBER: 1: 14 CR 10175 - 5     - IT

                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:            39        month(s)




    [{] The court makes the following recommendations to the Bureau of Prisons:

    The court makes a judicial recommendation that Defendant be housed in a BOP facility in close proximity to
    Middlesex County, Massachusetts.

   [{] The defendant is remanded to the custody of the United States Marshal.

   o      The defendant shall surrender to the United States Marshal for this district:

           Oat                                     0     a.m.     0   p.m.     on

           Das notified by the United States Marshal.

   o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o   before 2 p.m. on

           o   as notified by the United States Marshal.

           o   as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows :




          Defendant delivered on                                                            to

a:....-                                                , with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                             By                    ==.,...,..,..~""""'"'-:-::--=.,....-,....."....~-----
                                                                                                   DEPUTY UNITED STATES MARSHAL
                    Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 3 of 10

~AO 245B(05-MA)       (Rev. 06/05)Judgment in a CriminalCase
                     Sheet 3 - D. Massachusetts - 10/05


                                                                                                   Judgment-Page             3     of        10
DEFENDANT:   Guillermo Orquirio Rosario Colon aka EI 0
CASE NUMBER: 1: 14 CR 10175 - 5     - IT
                                                       SUPERVISED RELEASE                                              D   See continuation page


Upon release from imprisonment, the defendant shall be on supervised release for a term of:                 5    year(s)



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
D The above drug testing condition is suspended, based on the court's determ ination that the defendant poses a low risk of
    future substance abuse. (Check, if applicable.)
III The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
III The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D student,
    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
             as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
       each month;
  3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)   the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used , distributed, or administered;
  9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
       felony , unless granted permission to do so by the probation officer;
 10)   the defendant shall permit a probation officer to vis it him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
 11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
       record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant s compliance with such notification requirement.
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~AO 245B(05-MA)   (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 4A - Continuation Page - Supervised ReleaseIProbation -10/05

                                                                                                                        10 _
                                                                                       Judgment-Page ----1.... of _....:.:._
DEFENDANT:   Guillermo Orquirio Rosario Colon aka EI
CASE NUMBER: 1: 14 CR 10175 - 5     - IT

                       ADDITIONAL[{] SUPERVISED RELEASE 0 PROBATION TERMS


      1. If subject to a final order of deportation, the defendant is to leave the United States and is not to return
      without prior permission of the Secretary of the Department of Homeland Security.
      2. The defendant shall use his true name and is prohibited from the use of any false identifying information
      which includes, but is not limited to, any aliases , false dates of birth, false social security numbers, and
      incorrect places of birth.




                       Continuation of Conditions of D Supervised Release 0 Probation
                      Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 5 of 10
~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
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                                                                                                         Judgment- Page _ _5_ of          10
DEFENDANT:   Guillermo Orquirio Rosario Colon aka EI 0
CASE NUMBER: 1: 14 CR 10175 - 5     - IT
                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                               Restitution
TOTALS            $                $100.00                                $                                $


D The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below .
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned J?ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(t), all non federal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss·                          Restitution Ordered                  Priority or Percentage




                                                                                                                             D See Continuation
                                                                                                                                Page

TOTALS                              $                            $0.00                    $0.00
                                                                                $------~""-'-


D Restitution amount ordered pursuant to plea agreement $
D The  defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C . § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 36l2(g).


D The court determined that the defendant does not have the ability to pay interest and it is ordered that :
     D the interest requirement is waived for the D fine D restitution.
     D the interest requirement for the D fine D restitution is modified as follows :

... Findings for the total amount oflosses are required under Chapters 109A, 110, II OA,and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                    Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 6 of 10
~AO 245B(05-MA)      (Rev. 06/05)Judgmenl in a Criminal Case
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DEFENDANT:
                       Guillermo Orquirio Rosario Colon aka EI                    a
CASE NUMBER: 1: 14 CR 10175                       - 5          - IT

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows :

A    [!J Lump sum payment of $ _$_1_0_0_.0_0               _ due immediately, balance due

          D not later than                                            , or
          D in accordance            D C, D D,    D E, or D F below; or
B   D Payment to begin immediately (may be combined with D C, D D, or D F below); or
c D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $
                 (e.g., months or years), to commence
                                                                                                                   over a period of
                                                                      (e.g., 30 or 60 days) after the date of this judgment; or

D D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                 (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E D Payment  during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,payment ofcriminal monet~ penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 DJoint and Several
                                                                                                                               D See Continuation
                                                                                                                                    Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount , Joint and Several Amount,
     and corresponding payee, if appropriate .




 DThe defendant shall pay the cost of prosecution.

 DThe defendant shall pay the following court cost(s):

 DThe defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                     Case 1:14-cr-10175-IT Document 310 Filed 10/21/15 Page 7 of 10
AO 245B   (Rev. 06/05) Criminal Judgment
          Attachment(Page 1)- Statementof Reasons- D. Massachusetts- 10/05

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DEFENDANT:   Guillermo Orquirlo Rosario Colon aka El a                                                                                                        10
CASE NUMBER: 1: 14 CR 10175 - 5     - IT
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   0      The court adopts the presentence investigation report without change.

      B   r!I    The court adopts the presentence investigation report with the following changes.
                 (Check all that apply and specify court determination,findings,or comments,referencingparagraph numbersin the presentence report, if applicable.)
                 (Use Section VlIl if necessary.)

                 iill' Chapter Two of the V.S.S.G. Manual determinations by court (includingchanges to base offense level, or
                      specific offense characteristics):
                          The court calculates a base offense level of30 based on quantity, and rejects the "stash house" enhancementunder 2Dl .l (b)( 12).

          2      0    Chapter Three of the V.S.S.G. Manual determinationsby court (including changes to victim-related adjustments,
                      role in the offense, obstructionof justice, multiplecounts, or acceptance of responsibility):



                 o Chapter Four of the V.S.S.G. Manual determinations by court (includingchanges to criminal historycategoryor
                      scores, career offender,or criminal livelihooddeterminations) :



          4      0    Additional Comments or Findings (including commentsor factual findings concerningcertain information in the
                      presentencereport that the Federal Bureau of Prisons may rely on when it makes inmateclassification,designation,
                      or programming decisions):



      C 0        The record establishes no need for a presentence investigation report pursuant to Fed.R'Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A   ~      No count of convictioncarries a mandatoryminimum sentence,

      B   0      Mandatory minimum sentence imposed.

      C 0        One or more counts of convictionalleged in the indictmentcarry a mandatoryminimum term of imprisonment, but the
                 sentence imposedis belowa mandatory minimum term because the court has determinedthat the mandatoryminimum
                 does not apply based on

                 o findings offact in this case
                 o substantial assistance (18 U,S.c. § 3553(e»
                 o the statutory safety valve (18 U,S.c. § 3553(1)


III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level:         27
      Criminal History Category: I
      Imprisonment Range:      70         to 87          months
      Supervised Release Range: 3                to              years
      Fine Range: $ 12,500            to $ 1.000.000
      ~     Fine waived or below the guideline range because of inability to pay.
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                Attachment(Page 2) - Statement of Reasons - O. Massachusetts- 10/05

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DEFENDANT:   Guillermo Orquirio Rosario Colon aka El a
CASE NUMBER: 1: 14 CR 10175 - 5     - IT
DISTRICT:     MASSACHUSETTS
                                                             STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A D              The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart .

      B D              The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use Section VIII if necessary.)


      C      D         The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (Also complete Section V.)

      D¥J              The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

      A   The sentence imposed departs (Check only one.):
          D below the advisory guideline range
          D above the advisory guideline range
      B      Departure based on (Check all that apply.) :

                            Plea Agreement (Check all that apply and check reason(s) below.):
                            D SK I.I plea agreement based on the defendant's substantial assistance
                            D SK3.! plea agreement based on Early Disposition or " Fast-track" Program
                            D binding plea agreement for departure accepted by the court
                            D plea agreement for departure, which the court finds to be reasonable
                            D plea agreement that states that the government will not oppose a defense departure motion .
             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below .):
                            D SKI.I government motion based on the defendant's substantial assistance
                            D SK3.1 government motion based on Early Disposition or "Fast-track" program
                            D government motion for departure
                            D defense motion for departure to which the government did not object
                            D defense motion for departure to which the government objected
             3              Other
                            D Other than a plea agreement or motion by the parties for departure (Check reason(s) below .):
      C          Reason(s) for Departure (Check all that apply other than SKl.l or SK3.1.)

D    4Al.3        Criminal History Inadequacy               D     51<2.1    Death                                  D     51<2.11 Lesser Harm
D    SHl.J        Age                                       D     51<2.2    Physical Injury                        D     51<2.12 Coercion and Duress
D    5HI.2        Education and Vocational Skills           D     51<2.3    Extreme Psychological Injury           D     51<2.13 Diminished Capacity
D    5Hl.3        Mental and Emotional Condition            D     51<2.4    Abduction or Unlawful Restraint        D     51<2.14 Public Welfare
D    5HI.4        Physical Condition                        D     51<2.5    Property Damage or Loss                D     51<2.16 Voluntary Disclosureof Offense
D    5HI.5        EmploymentRecord                          D     51<2.6    Weapon or Dangerous Weapon             D     51<2.17 High-Capacity, Semiautomatic Weapon
D    5HI .6       Family Ties and Responsibilities          D     51<2.7    Disruption of Government Function      D     51<2.18 Violent Street Gang
D    5HI.Il       Military Record, Charitable Service,      D     51<2 .8   Extreme Conduct                        D     51<2.20 Aberrant Behavior
                  Good Works                                D     51<2 .9   Criminal Purpose                       D     51<2.21 Dismissedand UnchargedConduct
D    51<20        Aggravating or Mitigating Circumstances   D     51<2.10   Victim's Conduct                       D     51<2.22 Age or Health of Sex Offenders
                                                                                                                   D     51<2.23 DischargedTerms oflmprisonment
                                                                                                                   D     Other guideline basis (e.g.• 2B 1.1 commentary)

      D          Explain the facts justifying the departure. (Use Section VIII if necessary.)
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DEFENDANT:   Guillermo Orquirio Rosario Colon aka El a                                                                  Judgment -      Page     9    of      10
CASE NUMBER: 1: 14 CR 10175 - 5     - IT
DISTRICT:                MASSACHlJSETTS
                                                         STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A    The sentence imposed is (Check only one.):
          .l] below the advisory guideline range
            o above the advisory guideline range

      B     Sentence imposed pursuant to (Check all that apply.):
                        Plea Agreement (Check all that apply and check reason(s) below.):
                        o binding plea agreement for a sentence outside the advisoryguideline system accepted by the court
                        o plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                        o plea agreement that states that the governmentwill not oppose a defense motion to the court to sentence outside the advisoryguideIine
                               system

            2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                        o      governmentmotion for a sentence outside of the advisory guideline system
                        o      defense motion for a sentence outside of the advisory guideline system to which the governmentdid not object
                        o      defense motion for a sentence outside of the advisory guidelinesystem to which the governmentobjected

            3           Other
                        ~      Other than a plea agreementor motion by the parties for a sentence outside of the advisory guidelinesystem (Check reason(s)below.):

      C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           ~ the nature and circumstancesof the offense and the history and characteristicsof the defendant pursuant to 18 U.S.C. § 3553(a)(I)
           ~ to reflect the seriousnessof the offense, to promoterespect for the law, and to providejust punishment for the offense (18 U.S.C. § 3553(a)(2)(A))
           ~ to afford adequate deterrence to criminalconduct (18 U.S.c. § 3553(a)(2)(B))
            o to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
            o to providethe defendantwith needededucational or vocational training, medicalcare, or other correctionaltreatment in the most effective manner
                (18 U.S.c. § 3553(a)(2)(O))
           ~ to avoid unwarranted sentencing disparities among defendants(18 U.S.C. § 3553(a)(6))
            o to provide restitution to any victims of the offense (18 U.S.c. § 3553(a)(7))
      D     Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VITI if necessary.)

            The court varies to a sentence of 39 months based on a number of factors, including the Defendant's criminal history and
            role in the offense. The court also considers that Defendant was not able to take advantage of the safety-valve reduction
            due to fear of retaliation in his home country. The court views a sentence of 39 months as sufficient but not greater than
            necessary to comply with the purposes of sentencing--particularly in light of the fact that if Defendant illegally reenters the
            country and thereby violates supervised release, Defendant may be sentenced for up to two years of imprisonment for the
            violation. A sentence of 39 months is reasonable and avoids unwarranted sentencing disparities with other defendants in
            the case .
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                 Attachment (Page 4) - Statementof Reasons - D. Massachusetts - 10/05

                          Guillermo Orquirio Rosario Colon aka El a                                                         Judgment -          Page   10 of        10
DEFENDANT:
CASE NUMBER: 1: 14 CR 10175 - 5                  - IT
DISTRICT:     MASSACHUSETTS

                                                           STATEMENT OF REASONS

VII    COURT DETERMINATIONS OF RESTITUTION

       A     il     Restitution Not Applicable.

       B     Total Amount of Restitution:

       C     Restitution not ordered (Check only one.):

                    D    For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A, restitution is not ordered because the numberof
                         identifiable victims is so largeas to make restitution impracticable under 18 U.S,C, § 3663A(c)(3)(A).

             2      D    For offenses for which restitution is otherwise mandatoryunder 18 U.S.C. § 3663A, restitution is not ordered becausedetermining complex
                         issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolongthe sentencing processto a degree
                         that the need to providerestitutionto any victim would be outweighed by the burden on the sentencing process under 18 U.S,C. § 3663A(c)(3)(B).

             3      D    For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines,restitution is not
                         ordered because the complicationand prolongation of the sentencing process resulting from the fashioningof a restitutionorder outweigh
                         the need to provide restitutionto any victims under 18 U.S.c. § 3663(a)(l)(B)(ii).

             4      D    Restitution is not ordered for other reasons. (Explain.)




       D      D     Partial restitution is ordered for these reasons (18 U.S .C. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                      Sections I, II, Ill, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

                                   XXX-XX-XXXX
 Defendant's Soc. Sec . No.:                                                                           Date of Imposition of Judgment
                                                                                                         10/08115
                                    1967
Defendant's Date of Birth:

Defendant's Residence Address : Lowell, MA                                                             Signature of Judge
                                                                                                  The Honorable Indira Talwani                    Judge, U.S. District Court
 Defendant's Mailing Address:                                                                          Name and Title of Junge              /          /
                                         Lowell, MA                                                    Date Signed         / 0           ;
                                                                                                                                           @./ »J             ~~
